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                                                                                            June 21, 2023

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
United States District Court for the Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square, Room 705
New York, New York 10007

                  Re:      Sullivan v. Hwang et al.,
                           No. 22-cv-05675 (PGG)

Dear Judge Gardephe:

                This firm represents Patrick Halligan in the above-referenced case. I write to
respectfully request permission to withdraw my appearance as counsel for Mr. Halligan in
this matter. My colleagues at Friedman Kaplan Seiler Adelman & Robbins LLP who have
appeared in this case will continue to represent Mr. Halligan in this case. My partner Tim
Haggerty will be Mr. Halligan’s lead counsel in this matter.

                My withdrawal will not cause prejudice to any party and will have no material
effect on the schedule in this matter. Therefore, I respectfully request that the Court grant me
leave to withdraw as counsel for Mr. Halligan and that the Court’s docket be amended to
reflect my withdrawal.

                                                      Respectfully submitted,



                                                      Mary E. Mulligan



cc:    All Counsel (via ECF)




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